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                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

 LANDSCAPE CONSULTANTS OF                               Civil Action No. 4:23-cv-03516
 TEXAS, INC., and METROPOLITAN
 LANDSCAPE MANAGEMENT, INC.,

                       Plaintiffs,
 v.

 CITY OF HOUSTON, TEXAS, and
 MIDTOWN MANAGEMENT DISTRICT,

                       Defendants.

                          DEFENDANT CITY OF HOUSTON, TEXAS’
                       RESPONSES TO PLAINTIFFS’ INTERROGATORIES

TO:      Plaintiffs Landscape Consultants of Texas, Inc. and Metropolitan Landscape Management,
         Inc., by and through their counsel of record.

         Defendant City of Houston, Texas (“Defendant” or “the City”) submits this as its

Responses to Plaintiffs’ Interrogatories.

                                        -signatures follow-




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                                            Exhibit 1
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                                      Respectfully submitted,
                                      By:    /s/ Ben Stephens
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                                      ATTORNEYS FOR THE CITY OF HOUSTON

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                                 CERTIFICATE OF SERVICE
       I hereby certify that on the 6th day of May, 2024, a true and correct copy of Defendant City
of Houston, Texas’ Responses to Plaintiffs’ Interrogatories was served on counsel of record by email.
                                              /s/ Ben Stephens
                                              Ben Stephens




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and will continue on a rolling basis, and the City will supplement its response to this interrogatory

as necessary and appropriate.



INTERROGATORY NO. 3:

       Identify all City contracts that normally would have been awarded to the lowest responsive

and responsible bidder, but were instead awarded to a business other than the lowest responsive

and responsible bidder, from January 1, 2019, to present.

OBJECTIONS:

       The City objects that this request is overbroad, unduly burdensome, and seeks information

not proportional to the needs of the case. The request is vague and ambiguous in that it seeks

information pertaining to “lowest responsive and responsible bidders,” but fails to specify which

specific contracts are at issue. The competitive procurement process is not always based on a

“lowest responsive and responsible bidder” standard, and bidders may or may not be awarded a

contract for any number of reasons. Accordingly, this request is confusingly phrased and is not

capable of being answered as written.




INTERROGATORY NO. 4:

       Identify each compelling interest you contend is advanced by the MWSBE Program.

OBJECTIONS:

       The City of Houston objects to this interrogatory as improperly asking the City to state all

assertions and/or marshal all available evidence. Discovery is ongoing and the City’s answer to

this interrogatory will be supplemented as necessary or appropriate.

ANSWER:


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       Subject to and without waiving the foregoing, the City of Houston’s MWSBE Program has

been designed to mitigate and remedy the effects of past discrimination and its lingering effects

against minority and women-owned businesses, and to make public contracting opportunities

equally available to such businesses. The compelling interests advanced by the MWSBE program

include the City of Houston’s attempts to remedy past discrimination by rectifying its own actions.

Evidence demonstrates discriminatory barriers to fair competition between minority and non-

minority contractors. As such, the City of Houston strives to be inclusive of all minority and non-

minority contractors.



INTERROGATORY NO. 5:

       Identify all City contractors or other business enterprises sanctioned or penalized by the

City, including pursuant to Houston Code §15-86, for discriminating against subcontractors on the

basis of race, ethnicity, or sex from January 1, 2019, to present.

OBJECTIONS:

       The City objects that “sanctioned” and “penalized” are vague, ambiguous, and undefined.

The City further objects that this interrogatory seeks information neither relevant nor proportional

to the needs of the case.

RESPONSE:

       The City has not debarred a public contractor for discrimination against M/WBE

subcontractors from January 1, 2019 to the present.




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                                             Exhibit 1
